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ease 2:02-cr-20404-3MVBPL§H`&1T§§ DFI§MWEMQ@ 1 of 2 PagelD 32

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U.s.A. vs. Linda Gree; 02 . 904@9£

  

Petition on Probation and Supervised Release

COMES NOW Brenda L. Ca_rpteg, PROBATION OFFICER OF THE COURT presenting an official report
upon the conduct and attitude of Ms. Linda Greer, who was placed on supervision by the Honorable Bernice B.
Donald United States District Judge, sitting in the Court at Memphis, Tennessee on the 252 day of J_ul_y, 2@3_ who
fixed the period of supervision at two 121 y@, and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

 

1. The defendant shall seek and maintain lawful hill-time employment

2. Restitution in the amount of $36,212.00. (Balance of $35,212.00)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Ms. Greer has remained employed as a staff accountant for Parker Hamn`tin Corporation since 1999. Ms. Greer
has not completed payment of the Court ordered restitution; however, she has completed the $600.00 Court ordered
special assessment and has paid $1000.00 toward her restitution During the course of supervision, Ms. Greer paid
$100.00 monthly on a consistent basis toward her financial obligation. Ms. Greer has signed a payment agreement
with the United States Attomey’s Oftice wherein she has agreed to pay $100.00 per month until her restitution
balance is paid in tilll.

PRAYING THAT THE COURT WILL ORDER that Ms. Greer’s Probation terminate as scheduled on July 24,
2005 with the understanding that the United States Attorney’ s OtHce/Finaneial Litigation Unit will pursue collection
of the restitution

 

ORDER OF COURT
Considered and ordered,thjs / y day Rospectfully,
of Wgéa, , 20_¢{~_$_, and ordered filed
and e part of the records in the above £MJQ( CQ")IP
case. Brenda L.‘@/arpten
y U.S. Probation OHicer
M Place: Memnhis. Tennessee

  

 

 

' ed States Drstrict Jud§e /
Date: Julv 12. 2005

This document entered on the docket §§th in compliance
with nolo 55 ana/or 32(@} FaorP on ¢,211’¢25 (W

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:02-CR-20404 Was distributed by faX, mail, or direct printing on
luly 20, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

